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                EXHIBIT A
Message                                                                                                  Page 1 of 2
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Anna Levine

From:          Larry Paradis
Sent:          Monday, August 02, 2010 1:00 PM
To:            'bmaschler@gordonrees.com '
Cc:            'Tenhoff, Gregory'
Subject:       Accommodations on upcoming MPRE exam for Stephanie Enyart
Importance: High
Dear Brian,

I'd like to request your assistance in the set up for Ms. Enyart's upcoming MPRE exam. Ms. Enyart just
completed the MBE exam using a laptop provided by NCBE, and encountered technical difficulties
again. The particular problems she encountered were different than those she encountered during the
previous test administration. This time, the problem concerned a lack of synchronization between the
JAWS and ZoomText software programs. As a result, there were difficulties wherein the cursor on the
ZoomText screen was not matching up to the material being read out loud by the JAWS program. The
problem was identifed during the set up during the day before the MBE began. The problem was
intermittent in that when Ms. Enyart first inputted the settings on the programs the two programs would
work properly together for awhile, but then after a period of time they would stop coordinating. We tried
to resolve the problem using our technical support person at DRA, but were not able to fix it. One
possible reason for the problem was that the laptop apparently had an antivirus program ("McAffey")
which had not been renewed. Our technical support person thought that deleting the antivirus program
might help, but we were unable to do so because Ms. Enyart and no one at the test site had
"administrative privileges" to alter any of the programs on the laptop. Ultimately, Ms. Enyart found some
ways to minimize the problem but was not able to get the two software programs working consistently
together throughout the test.

We would like to minimize the chances of this or other technical problems occuring on the upcoming
MPRE exam. We understand that the ACT will be installing the two software programs this Tuesday or
Wed. Could you ask the ACT personnel to make sure when installing the programs that there is no
expired antivirus software on the laptop - i.e. that if there is antivirus software that has expired that it be
updated or deleted? Also, could you ask them to confirm that the operating system being used is
Windows XP, and ask that they check as fully as possible that the JAWS and ZoomText programs are in
fact working together properly and that the cursor sychronizes with the JAWS program as a user moves
around within the text and stays sychronized for at least 30 minutes of testing?

Also, in case there are problems that Ms. Enyart encounters during her set up and testing of the
equiptment on Thursday August 5 could you ask the ACT personnel to be sure they have "administrative
privileges" vis a vie the laptop, so that problems if they arise can be fixed?

By cc to Greg, I am asking that NCBE allow such privileges to the ACT personnel.

Finally, once the equiptment set up is complete and the programs tested the day before the exam, could
we ensure that the equiptment is left on so that whatever settings Ms. Enyart has inputted remain in effect
for the test day? It took Ms. Enyart several hours to find settings that minimized the problems with the
technology on the set up for the MBE, and it seems that allowing the equiptment to stay on will minimize
any further problems that might occur on the test administration day. If the laptop goes into hibernate or
sleep mode that is better than having it be shut down.

Thank you for your attention to this matter.

Sincerely, Larry Paradis

           Original Message
        From: Larry Paradis
        Sent: Monday, July 12, 2010 4:11 PM



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      To: bmaschler@gordonrees.com
      Cc: 'Tenhoff, Gregory'
      Subject: Accommodations on upcoming MPRE exam for Stephanie Enyart

      Dear Brian,

      As you may know, Ms. Enyart will need to take the MPRE again. It is scheduled to be held on August 6,
      2010. The Federal Court has issued a second preliminary injunction requiring that NCBE provide the
      exam to Ms. Enyart on a laptop computer equipped with the JAWS and ZoomText programs. The one
      difference this time that concerns ACT is that the Court directed that Ms. Enyart be allowed to set up and
      test the equipment, including the NCBE laptop, on the day before the MPRE begins. We actually arranged
      this to occur the last time with your help on a voluntary basis, and we are hoping this will not pose any
      difficulties this time around. Last time, Ms. Enyart took the MPRE on the east coast and was able to
      arrange with the University where the test was given to have the testing room made available for the setup
      the day before and to ensure that the room was secured overnight since Ms. Enyart was to supply the
      monitor and other peripheral equipment for the exam, as well as various items such as a special lamp, and
      it is important that this equipment be kept secure.

      This time, Ms. Enyart will be taking the exam on the West Coast. She has requested that the exam be
      held in Oakland as her first choice, and Alameda as her second choice. Could you check with ACT to find
      out which location the exam will be administered at, and to confirm that the testing room and NCBE laptop
      will be made available on Thursday August 5 - the day before the exam begins? Ms. Enyart would prefer
      to schedule the setup and testing for the morning of Thursday Aug. 5. Can you check on whether the
      morning time will work? Could you also confirm that the room will be secured from the time of the setup
      and overnight? Will NCBE be sending its own representative to maintain security of the laptop, or will an
      ACT employee be supervising the NCBE laptop once it arrives?

      Also, part of the set up and testing will be to check that the laptop provided by NCBE allows for
      the questions to be displayed in 14 point Ariel font. In case there are any technical glitches, Ms. Enyart
      will need access to a phone to call our technical support person during the setup and testing of the
      equipment. Can Ms. Enyart bring her cell phone into the exam room during the equipment setup and
      testing on August 5? If not, could you confirm that there will be someone present during the set up and
      testing of the equipment that has a cell phone Ms. Enyart can use in case she needs help from our
      technical support person?

      Ms. Enyart also found it helpful during the last administration of the MPRE to have the contact information
      for the person who would be supervising the setup and testing process the day before the exam, so that
      they could touch base ahead of time and coordinate on when and where they would be meeting for the
      setup process. Could you facilitate that arrangement this time as well by passing along to me the name and
      phone number of the person who will be overseeing the setup process so that Ms. Enyart can contact him
      or her?

      For your information, I am attaching a copy of the second preliminary injunction that the court issued.

      Finally, Ms. Enyart informs me that last time there was some confusion regarding delivery of a letter from
      ACT to Ms. Enyart regarding her accommodations. Apparently, ACT tends to send its final letter
      confirming the accommodations during the week before the MPRE is given. However, because Ms.
      Enyart is taking the California Bar Exam during that week before the MPRE, she will not be home to
      receive such a letter. Could you check with ACT to see if it can get such a letter delivered on or before
      July 24, since that is the last day before Ms. Enyart moves to Burlingame to take the California Bar
      Exam? Alternatively, the letter could be directed to me.

      Thank you for your cooperation in this matter.

      Sincerely,
      Larry Paradis




1/14/2011
